This was a bill in equity, brought by Lewis, to be relieved against a judgment recovered against him at law in the name of the defendant Flynn.
The bill states that some time in the year 1780, a law was passed by the Legislature of North Carolina, providing that when a draft of the militia should be ordered, and the person drafted failed to serve, the Colonel of the Regiment should issue his warrant to any constable or sheriff commanding them to seize the estate of the delinquent, and sell enough of it to hire a substitute; that shortly after the passage of this law, viz., on the 24th day of October, 1781, a draft was directed by the Colonel of a regiment in the county of Surry, at which time one Gideon Right was drafted; that Right was then a tory and an insurgent, and failed to appear; whereupon the Colonel issued his warrant, upon which a negro woman named Dilce was seized and sold to the complainant for twenty-five thousand pounds, of which sum he paid ten thousand pounds for a substitute, and the residue to the commissioners of confiscated property. That some time in the year 1783, he sold the negro woman to a certain Samuel M'Adam; and that some time in March, 1802, the defendant Flynn having obtained letters of administration de bonis non, of the estate of Gideon Right, commenced a suit in the State of North Carolina, against the defendant Cooper, for a negro girl named Jane, said to be the daughter of Dilce, and which Cooper *Page 468 
claimed under M'Adam. in this suit Flynn recovered a judgment for five hundred dollars; but the bill charges that the girl Jane, if the daughter of Dilce, which the complainant denies, was born after the sale to M'Adam; that Cooper did not make a proper defence to the suit, although he well knew that the claim of the complainant to Dilce was fair and legal; and that Flynn, who also had the same knowledge, concealed it upon the trial.
The bill further charges that after these transactions had happened, he was applied to by said Cooper and Flynn to settle the amount of the judgment so recovered; and that he being then ignorant that there had not been a full and fair defense made by Cooper, and not knowing that Flynn had concealed his knowledge of any facts upon the trial; and also being wholly ignorant of the extent of his liability, agreed to pay to Flynn the amount of the judgment, and gave his writing under seal to that effect, — that upon this writing Flynn had commenced a suit and recovered a judgment. The complainant alleges that even admitting his title as to Dilce was not a good one at the time he made sale of her, still he is not liable to pay the value of her increase born after the sale, unless he had made a warranty to that effect, which he had not made; but that when he executed the writing to Flynn he was wholly ignorant of this point of law. He then believed, and under the influence of that opinion both he and Flynn acted, that if his title to Dilce was not good, he was liable to pay not only her value, but also the value of her increase.
The bill also charges that the girl Jane was not worth more than three hundred dollars, of which fact he was ignorant when he executed the writing to Flynn; that five hundred dollars had been recovered in the action against Cooper, it being detinue, according to a practice in North Carolina of giving more in those actions than the value of the thing, in order to produce a re-delivery of the property.
Cooper answered that he purchased the girl *Page 469 
Jane from one Perry, who claimed her in right of his wife, as being one of the legatees of M'Adam; that he did not believe the title of the complainant to Dilce was derived in the way set forth in the bill; but that he had been informed and believed that the complainant had taken her from Right by force, and without any color of title or authority; that several years after the purchase of Jane, he happened in North Carolina, where he was arrested at the suit of Flynn in an action of detinue, and that he engaged a certain David Rainey as his agent, to attend to the suit, which he felt perfectly justifiable in doing, as a suit was then depending against Rainey for Dilce and three more of the children; that the suit was properly defended; that no fraud or collusion was practised; and that a verdict passed against him after a full defence had been made.
The answer further stated that after a recovery had thus been obtained against him, as also against Rainey for Dilce and the three children, the records were brought on to this country by Rainey; and that shortly afterwards Cooper and Rainey applied to Lewis on the subject, who immediately said that the claims were just, and that he would pay the amount of both recoveries, without a lawsuit, if he could get an indulgence of eighteen months. This indulgence was given, whereupon Lewis gave his bond to Rainey for the amount of his claim, and to the defendant Cooper for the amount of the recovery against him; but that owing to some ambiguity in the writing, a suit had to be brought on it in the name of Flynn, though for the sole benefit of Cooper. The defendant denies that he made any representations to Lewis which were not true; and avers that as Lewis was bound in good conscience to remunerate him for the price of Jane, although in strict law he might not be liable, he ought not now to be permitted to evade a payment, as he had settled the dispute and given his bond for the money.
The answer admits the recovery of the judgment *Page 470 
against Lewis as is set forth in the bill; and also admits that the girl Jane was not worth more than four hundred dollars: It also alleges that during the pendency of the suit about these negroes, Lewis and Rainey corresponded frequently on the subject, and when Rainey was in this country, Lewis expressed great satisfaction and friendship for the services he had rendered him in the business. Cooper also referred in his answer to the bill of sale executed by the complainant to M'Adam, which is in these words: —
"North Carolina, Surry County.
Know all men by these presents, that I, William T. Lewis, of the above-mentioned county, have bargained, sold, confirmed and delivered, one negro girl named Dilce unto Samuel M'Adam, which said negro I do warrant and defend unto the said M'Adam, his heirs, executor, administrator or assigns. In witness whereof 1 have hereunto set my hand this 17th day of November, 1783.
                                                    William T. Lewis. Teste, James Lewis. J. M. Lewis."
No answer was put in by Flynn; nor were any further steps taken against him.
It appeared from the evidence of one Frederick Taylor, that Rainey had served notices to take the depositions of Zenas Baldwin, the constable who sold Dilce, Matthew Brooks and Martin Armstrong, all of whom are referred to by the complainant as persons who knew Dilce. Baldwin's deposition was taken, but rejected by the Court on the ground of the infamy of his character. At the time Brooks's deposition was to be taken, he was out of the State; and Martin Armstrong would not attend to give his testimony. This witness gives it as his opinion that all practicable defence was made to the suits brought by Flynn.
Joel Lewis proved that he was acquainted with Dilce; that she was sold by Zenas Baldwin, a constable, to get a substitute in the room of Gideon *Page 471 
Right, who had been drafted; and that she was purchased by William T. Lewis; that after the death of Right a certain Justice Reynolds, a son-in law of Right, having a bill of sale from Right for Dike, commenced suit against the complainant in the Salisbury Superior Court; which suit was decided in favor of the complainant.
James Martin Lewis proved that in the fall of 1781 he was at the house of Lewis, the complainant, and that on the same evening the complainant came home from Allen's iron-works in company with Matthew Brooks, Captain Gibson Wooldridge, Henry Speer, Esq., and Zenas Baldwin, who was then a constable; and that Baldwin told him he had been at Allen's iron-works to sell a negro girl belonging to Gideon Right, upon a warrant to seize property to hire a substitute; that the girl was sold for 25,000l. North Carolina money, and purchased by the complainant, who paid 10,000l. for a substitute, and the residue to the commissioner of confiscated property.
He also proves that the negro girl was kept publicly by the complainant until the latter part of 1783, when he sold her to M'Adam.
Haywood, for the complainant, contended that the complainant was not liable, upon the bill of sale for Dilice, to pay for the loss of her increase, and that, consequently, the bond executed to Flynn for the benefit of Cooper had no consideration. This would lead directly to the inquiry whether a contract could be set aside where the parties had evidently proceeded in making of it upon a mistake of law? If money is paid under an impression that there is an obligation in law to do it, it may be recovered back in an action of assumpsit if no such obligation exists. 1 T. R. 285. So a verbal promise to pay money, where the law creates no obligation, can not be enforced 3 T. R. 757; 2 Bac. Abr. 32, tit. Heir and Ancestor, let. H. The circumstance of the contract having proceeded so far as to be reduced to writing and sealed by the parties can make no difference, except as to the *Page 472 
tribunal where relief is to be sought. A court of equity will still interfere; and if it is made to appear that a bond was executed under a palpable mistake of the law, relief will be afforded. 2 Com. Dig. tit. Chy. 4, D. 7; Chy. Ca. 239; 1 Vern. 32; 1 Ves. 126.
Trimble, for the defendant, argued that it was by no means clear that the complainant was not liable for the value of the increase of Dilce. In principle, and by the common understanding in such cases, he would be liable; and no case had been produced by Mr. Haywood to show that the liability did not exist.
But it was not necessary to examine that matter particularly. The complainant was bound in conscience to pay the value of Jane; there was no false representations made to him upon the subject; nor is it pretended that any attempt was used to make him believe the law to be otherwise than it really is. Under these circumstances, as the complainant has given his voluntary bond, no fraud or compulsion having been used, he ought not now to be permitted to evade the payment of it. although, possibly, he might not originally have been liable. Ignorantialegis non excusat is a sound maxim, and ought to be applied to the case before the Court. 2 Ves. 125; 3 P. Wms., 290.
Lewis filed this bill to be relieved against a judgment recovered by Flynn for the use of Cooper. The ground upon which relief is sought is a want of consideration for the bond. The substance of the case appears from the bill, answer, and proof, to be that Lewis sold to one M'Adam a negro girl named Dilce, and that he executed to M'Adam a bill of sale in which he covenanted to warrant the title to the negro. Dilce, after this sale, had several children, and amongst them one called Jane, who came by sale into the hands of Cooper. An action of detinue was commenced in North Carolina against Cooper, and in that action *Page 473 
Jane was recovered, and her price estimated at five hundred dollars. After this recovery Cooper brought a transcript of the record to Tennessee and showed it to Lewis, who, after some conversation, proposed that if Cooper would wait eighteen months for the money he would pay him the amount of the recovery, to which proposition Cooper acceded, and the obligation was taken.
Upon this statement it has been insisted for the complainant that there was no consideration for the bond; that he was not liable for the value of Jane, as there was no covenant that he would warrant the title of the increase of Dilce; and that at the time he executed this obligation he believed he could be made liable. He was, therefore, it is said, mistaken in point of law, and ought to be relieved; and in support of this doctrine the counsel has cited 1 T. R. 285; 3 T. R. 761; 2 Bl. Rep., 824; 3 Bac. Abr. tit. Heir and Ancestor, H.; 2 Com. Dig. tit. Chy. 4 D. 7; 1 Vern. 31; 1 Ves. 126.
Take the law as to the liability of the complainant to be as his counsel has insisted, although upon that point we give no opinion, still we believe he is not entitled to a decree. Because, this was a matter which the parties had a right to compromise for themselves; there was nothing illegal in it; nor is there an intimation that any artifice whatever was practiced upon Lewis. If we undertake to set aside agreements which were designed to stop litigation, merely because one party mistook the law, we establish a principle by which all such agreements may be destroyed. It must invariably happen that one of the parties to a compromise was mistaken in the law; and upon this discovery, if the agreement is to be annuled, it will be a fruitful source of litigation in this Court. At the time of a compromise, with the information society then possessed, it might be the opinion of all that, according to the terms of the compromise, the party undertook to pay no more than the law compelled him to pay without the compromise. But, *Page 474 
a few years afterwards, new light is shed upon the subject; the law is understood differently, and then the agreement must be rescinded. In a still more enlightened period legal opinions re-change, and the law is understood certainly to be as it was originally understood; and then ought we to review the cause and hold the party to the agreement?
To this absurd and ruinous consequence would the doctrine advanced by the counsel for the complainant lead.
Again, the agreement ought not to be annulled unless we could place the parties in statu quo. Cooper, save for this agreement, might have been satisfied by his vendor. The compromise with Lewis prevented any exertions against others in the mean time. By a lapse of five or six years the chance of recovery may be entirely lost; in most cases it is, at all events, much lessened.
The bill must therefore be dismissed. 1 Johns. 331; 1 Atk. 10; 1 Ves. 4; 2 Ves. 284, 125; 2 P. Wms. 290.